       Case 4:23-cv-00230-MW-MAF Document 24 Filed 07/10/23 Page 1 of 9




                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF FLORIDA
                               CASE NO: 4:23-cv-00230-MW-MAF

 AIDS      HEALTHCARE           FOUNDATION,
 INC.,

          Plaintiff,

 vs.

 OKALOOSA AIDS SUPPORT AND
 INFORMATIONAL SERVICES, INC.,
 a/k/a “OASIS,” and the FLORIDA
 DEPARTMENT OF HEALTH,

          Defendants.


          PLAINTIFF’S REPLY IN SUPPORT OF EMERGENCY MOTION FOR
                          PRELIMINARY INJUNCTION

         Plaintiff, AIDS Healthcare Foundation, Inc. (“AHF”), pursuant to the Court’s Scheduling

Order (DE 19) hereby files its Reply memorandum in support of its Emergency Motion for

Preliminary Injunction (DE 8) as set for hearing on July 13, 2023. On the record following that

hearing, the Plaintiff will ask for preliminary injunctive relief in its favor, as the merits and the

balance of equities as well as the public interest tilt strongly in Plaintiff’s favor.

                                         INTRODUCTION

         AHF, the world’s largest private provider of HIV/AIDS treatment, which has been active

for more than 30 years throughout the country, was terminated from the federal Ryan White

HIV/AIDS grant program in Northwest Florida by Defendant OASIS, a local nonprofit

headquartered in Fort Walton Beach, based on an arbitrary, ad hoc caseload requirement unlike

any other in Florida, which was wholly invented by OASIS and imposed illegally and ultra vires.
       Case 4:23-cv-00230-MW-MAF Document 24 Filed 07/10/23 Page 2 of 9




Furthermore, OASIS acted without the affirmative approval of the Florida Department of Health

(the “DOH”), which was expressly required.

       Plaintiff is not rowing against the tide of the contract’s provision regarding termination at

will, which OASIS did not invoke, and which as a matter of law does not provide cover for OASIS

to terminate the contract in bad faith, as the Complaint alleges. Rather, Plaintiff is simply arguing

that this particular termination, which was fatally infected by OASIS’s wrongful and unlawfully

imposed cap on case managers, and which was not approved by the DOH, was illegal and beyond

OASIS’s legal authority, and should be declared as such by the Court. The plain language of the

contract is in Plaintiff’s favor, and therefore, so is the probability of success. Further the balance

of hardships and the public interest—primarily, the power of choice by the HIV patients who are

most acutely interested in this dispute, and for whom the Ryan White program is primarily intended

to benefit—favors the Plaintiff’s requested relief as well. Plaintiff will briefly address the relevant

factors for temporary injunctive relief, which are well-known to all parties and the Court.

                                      LIKELIHOOD OF SUCCESS

       Plaintiff recognizes the holding of McKinney v. Portico LLC, 2023 WL 2889737 (N.D. Fla.

2023), supporting the proposition that a contract provision allowing for termination for

convenience is generally enforceable and allows terminations without cause. However, the law is

equally clear that a party to a federal government services contract, such as the contract at issue

here, cannot rely on a termination for convenience provision in bad faith. See, e.g., TigerSwan,

Inc. v. United States, 110 Fed. Cl. 336, 345 (2013) (recognizing a cause of action for breach of

contract where federal contract is terminated in bad faith pursuant to termination-for-convenience

provision); Harris Corp. v. Giesting & Assocs., Inc., 297 F.3d 1270, 1272-73 (11th Cir. 2002)




                                                  2
       Case 4:23-cv-00230-MW-MAF Document 24 Filed 07/10/23 Page 3 of 9




(“[t]ermination for convenience clauses may not be used to shield the terminating party from

liability for bad faith or fraud”).

        In any case, the facts here are different than those in McKinney. First, as OASIS’s own

Response fully proves, the termination in this case stands or falls on OASIS’s insertion into the

2023 contract language which was not included in its “model” contract with the Florida DOH, to

the effect that there was not only a 60 patient minimum requirement for case managers but also a

100 patient maximum requirement. This is plainly contrary to OASIS’s contract with DOH, which

expressly requires OASIS to contract with subcontractors such as AHF on the same material terms

as the pass-through provisions contained in the State’s contract with OASIS, and any such terms

must be approved by the DOH. See Declaration of Dawn Averill (“Averill Declaration”), attached

hereto as Exhibit 1, at ¶¶ 20-22. See also DE 8-1 at 51. This is the same contract (between the

Florida DOH and OASIS) which defines the “deliverables” under either the standard contract and

the subcontract as including only a minimum number of patients required for case management

services, and no maximum. DE 8-1 at 60-61.

        In addition, OASIS’s own contract (DE 8-1 at 17, paragraph 15(a)) requires that a

termination of a subcontractor by OASIS be affirmatively approved by the DOH prior to the action

being taken: “[A]ny modifications, amendments or termination of any subcontractor agreements

must be submitted to the contract manager for review and approval prior to execution.” Evidence

at the hearing will be that this did not occur, and indeed, that the DOH was opposed to and tried

to undo the termination when it found out about it, after the fact. Just as if a contract were

terminated without the required opportunity to cure an alleged breach, Magnum Construction

Mgmt. Corp. v City of Miami Beach, 209 So. 3d 51, 55 (Fla. 3d DCA 2016), a termination with a

missing condition precedent (here, the State’s approval) is fatally flawed and must be held as such



                                                3
       Case 4:23-cv-00230-MW-MAF Document 24 Filed 07/10/23 Page 4 of 9




by the Court. Also, on the facts, the result if the DOH had been brought into the termination process

would have been that a reasonable accommodation would have been worked out to protect the

primary interest at stake—those of the patients.

       In its Response, OASIS contends that it previously introduced the case-management cap

in 2020 – though this factual allegation is very much in dispute. See Averill Declaration at ¶¶ 37-

38. But the timing of this ad hoc requirement does not preclude a finding that it is arbitrary and

capricious: Significantly, AHF has not encountered a case-management cap in any other Ryan

White Part B program contract in Florida. Averill Declaration at ¶ 39. Moreover, the agreement

itself provides only for financial penalties in the event of a violation of the case-management cap;

neither the current agreement or the 2020 agreement contemplated the case-management cap as a

basis for termination of the contract.

       Moreover, while OASIS insists that it had the authority to adopt “guidelines” for

subcontractors, it does not assert or show that the DOH approved of the case-management cap

contained in its agreement with AHF, as expressly required under OASIS’s agreement with the

DOH. In the absence of such approval by DOH – even if consistent with federal requirements –

OASIS exceeded its authority, and OASIS could not rely on these unapproved contract terms as a

basis to terminate its agreement with AHF – making the termination void and unenforceable. See,

e.g., Title & Trust Co. of Fla. v. Parker, 468 So. 2d 520, 524 (Fla. 1st DCA 1985) (“where the

contract contains clause that is illegal, a court ought not to enforce the illegal term, as a contract

cannot give validity to an otherwise illegal act”); Accela, Inc. v. Sarasota County, 993 So. 2d 1035,

1038-39 (Fla. 2d DCA 2008) (“a public entity must follow its own laws for a contract with the

entity to be valid”); Robert G. Lassiter & Co. v. Taylor, 128 So. 14, 17 (Fla. 1930) (municipal




                                                   4
       Case 4:23-cv-00230-MW-MAF Document 24 Filed 07/10/23 Page 5 of 9




contract that violated city charter was “illegal and void”). Accordingly, AHF is likely to succeed

on its breach of contract claim.

       Moreover, OASIS’s abrupt attempt to terminate the Renewed Agreement on such flimsy

grounds, mere weeks after entering into it, is itself persuasive evidence demonstrating OASIS’s

breach of the duty and good faith and fair dealing: The evidence strongly suggests that OASIS had

no intention of honoring the Renewed Agreement. However, with the implied covenant of good

faith and fair dealing, “one party cannot capriciously exercise discretion accorded it under a

contract so as to thwart the contracting parties’ reasonable expectations.” Ernie Haire Ford, Inc.

v. Ford Motor Co., 260 F.3d 1285, 1291 (11th Cir. 2001). That is exactly what OASIS has done

here. And while OASIS relies heavily on the termination-at-will provision of the contract (see DE

23 at 19-21), this contract term does not allow OASIS to escape the consequences of its bad faith

conduct. See TigerSwan, 110 Fed. Cl. at 345 (recognizing a cause of action for breach of contract

where federal contract is terminated in bad faith pursuant to termination-for-convenience

provision); Harris Corp., 297 F.3d at 1272-73 (“[t]ermination for convenience clauses may not be

used to shield the terminating party from liability for bad faith or fraud”).

       Finally, AHF is likely to succeed on its claim for declaratory relief. As discussed above,

the case-management cap is plainly inconsistent with the other terms of the contract, and contrary

to the terms of OASIS’s contract with DOH. And there is no evidence that the case-management

cap term was approved by DOH, as required. Thus, AHF is likely to succeed on its claim for a

declaration that the imposition of these terms was ultra vires and beyond OASIS’s authority.

       AHF is also likely to succeed on its claim for a declaration that OASIS’s conduct has

violated the applicable federal regulations, which govern this and all grants under the Ryan White




                                                  5
       Case 4:23-cv-00230-MW-MAF Document 24 Filed 07/10/23 Page 6 of 9




programs, as the parties’ contract acknowledges.       See Exhibit A to Averill Declaration at

Attachment 1, ¶¶ A.2.bb, A.2.ff & H.1.

       Under 45 C.F.R. § 75.300(b), the DOH (and by extension OASIS) are “responsible for

complying with all requirements of the Federal award.” See also 45 C.F.R. § 75.303(b) (grant

recipients must “[c]omply with Federal statutes, regulations and the terms and conditions of the

Federal awards”). In addition, “subrecipients of a state,” such as OASIS, are required to comply

with the procurement standards contained in 45 C.F.R. §§ 75.327-335. See 45 C.F.R. § 75.326.

This includes 45 C.F.R. § 75.328(a)(1), which prohibits subrecipients from “placing unreasonable

requirements on firms in order for them to qualify to do business,” and § 75.328(a)(7), which

prohibits “[a]ny arbitrary action in the procurement process.” OASIS has run afoul of these

regulations by instituting arbitrary case-management caps that are not required by the Ryan White

program, or by the State of Florida in any other Part B program.

       Moreover, 45 C.F.R. § 75.328(a) specifically states that “contractors that develop or draft

specifications, requirements, statements of work, or invitations for bids or requests for proposals

must be excluded from competing for such procurements.” 45 C.F.R. § 75.328(a). Yet that is

exactly what OASIS has done here: It has created requirements for subcontractors such as AHF

capping case-management services while at the same time competing with AHF for those case

management services – as evidenced by the declaration of OASIS’s executive director, Kurt

Goodman. See DE 23-7 at ¶ 4 (“As Lead Agency, OASIS both subcontracts with other providers

to provide medical care and case management services to eligible clients under the Ryan White

Part B program, and also provides case management services directly to eligible clients”)

(emphasis added). Based on OASIS’s own evidence, AHF is likely to succeed on its claim for a

declaratory judgment that OASIS has violated 45 C.F.R. § 75.328(a).



                                                6
       Case 4:23-cv-00230-MW-MAF Document 24 Filed 07/10/23 Page 7 of 9




       The evidence will ultimately show that AHF is likely to succeed on its claims and is entitled

to preliminary injunctive relief.

                                      BALANCE OF HARDSHIPS

       The equities also favor injunctive relief. OASIS’s actions have significantly disrupted

AHF’s relationships with its patients and threatened their continuity of care – interests that should

be preserved through injunctive relief. Averill Declaration at ¶¶ 29-34. See also, e.g., Mental

Health Network, Inc. v. Marstiller, 2022 WL 19330976, at *4 (S.D. Fla. Jan. 14, 2022) (effect on

medical provider’s ability to render services outweighs State’s interest). As discussed in Ms.

Averill’s declaration, OASIS has attempted to steer not only case-management clients to itself and

CAN, but also clients receiving medical services. Averill Declaration at ¶¶ 31-32. The effect on

the continuity of care for AHF’s clients is potentially catastrophic. Id. at ¶ 34. Meanwhile, OASIS

at best has a claim to success in its bureaucratic power play, based on a grievance valued at $100

per violation in the contract.

                                       THE PUBLIC INTEREST

       The public interest favors interim relief in favor of Plaintiff AHF. To date, AHF, even with

its ability to be paid at risk, has continued to handle case management and medical services for

HIV patients. Meanwhile, the DOH has received several complaints from patients whom OASIS

has attempted to steer to other providers for either case management or other services. There is a

reason why Area 1 patients have made AHF their one-spot-shop for medical and other HIV related

services.

       WHEREFORE, Plaintiff, AIDS Healthcare Foundation, Inc., respectfully requests that the

Court enter an order enjoining Defendant, Okaloosa AIDS Support and Informational Services,




                                                 7
       Case 4:23-cv-00230-MW-MAF Document 24 Filed 07/10/23 Page 8 of 9




Inc., and rescinding OASIS’s legally defective termination of June 1, 2023, and granting any

additional relief as the Court deems just and appropriate.

                                              Respectfully submitted,

                                              COFFEY BURLINGTON, P.L.
                                              2601 South Bayshore Drive, Penthouse One
                                              Miami, Florida 33133
                                              Telephone: (305) 858-2900
                                              Facsimile: (305) 858-5261

                                              By:     /s/ Scott A. Hiaasen
                                                      Kendall B. Coffey, Esq.
                                                      Florida Bar No. 259861
                                                      Scott A. Hiaasen, Esq.
                                                      Florida Bar No. 103318
                                                      kcoffey@coffeyburlington.com
                                                      shiaasen@coffeyburlington.com
                                                      lperez@coffeyburlington.com
                                                      service@coffeyburlington.com
                                                     Counsel for Plaintiff AIDS Healthcare
                                                     Foundation, Inc.




                                                 8
      Case 4:23-cv-00230-MW-MAF Document 24 Filed 07/10/23 Page 9 of 9




                               CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on July 10, 2023, a true and correct copy of the foregoing was

electronically filed with the Clerk of the Court by CM/ECF and served on all counsel of record

and all others registered to receive electronic service of court documents in this case via

transmission of the Notice of Electronic Filing generated by CM/ECF.

                                                      /s/ Scott A. Hiaasen
                                                          Scott A. Hiaasen

                                      SERVICE LIST
                       AIDS Healthcare Foundation, Inc. v. OASIS, et al.
                             Case No. 4:23-cv-00230-MW/MAF

Douglas Alan Bates, Esq.                             Katelyn R. Boswell, Esq.
Daniel E. Harrell, Esq.                              Alyssa T. Silva, Esq.
dbates@clarkpartington.com                           katelyn.boswell@flhealth.gov
dharrell@clarkpartington.com                         alyssa.silva@flhealth.gov
ahallecy@clarkpartington.com                         Chief Legal Counsel
jknudsen@clarkpartington.com                         Office of the General Counsel
ldunlap@clarkpartington.com                          FLORIDA DEPARTMENT OF HEALTH
jdallman@cphlaw.com                                  4052 Bald Cypress Way, Bin A-02
pmimperial@clarkpartington.com                       Tallahassee, Florida 32399-1708
CLARK PARTINGTON                                     Telephone: (850) 245-4005
P.O. Box 13010                                       Facsimile: (850) 245-4790
Pensacola, Florida 32591-3010
Telephone: (850) 434-9200                            Counsel for Defendant Florida Department of
Facsimile: (850) 432-7340                            Health

Bailey Howard, Esq.
bhoward@clarkpartington.com
CLARK PARTINGTON
215 S. Monroe Street, Suite 530
Tallahassee, Florida 32301
Telephone: (850) 320-6831
Facsimile: (850) 597-7591

Counsel for Defendant Okaloosa AIDS
Support and Informational Services, Inc. a/k/a
“OASIS”




                                                 9
